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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


S VITLANA DOE, et al.,

                                      Plaintiffs,

                            V.                                   Case No. 1:25-cv-10495-IT


KRISTI NOEM, et al.,

                                      Defendants.


      UNOPPOSED MOTION FOR LEAVE TO FILE BRIEF AS AMICI CURIAE
    IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       Proposed amici curiae States of New York, Illinois, California, Connecticut, Hawai‘i, Maine,

Maryland, Massachusetts, Minnesota, New Jersey, Oregon, Rhode Island, Vermont, Washington, and

Wisconsin, and the District of Columbia (“Amici States”) respectfully request leave to file the

attached brief as amici curiae in support of plaintiffs’ motion for a preliminary injunction (ECF

Nos. 23-25). All parties have consented to this request.

       Amici States—which are home to many thousands of immigrants—have a compelling

interest in the outcome of this challenge to the U.S. Department of Homeland Security’s (DHS)

termination of multiple parole processes, including those for certain nationals of Afghanistan,

Ukraine, Cuba, Haiti, Nicaragua, and Venezuela. Terminating these parole processes, and prohibit-

ing current parole recipients from applying for other forms of immigration status, would inflict

substantial harms upon Amici States’ fiscs, residents, and economies.

       The proposed brief addresses Amici States’ unique perspective and will aid the Court by

highlighting facts and arguments not addressed in detail by the parties. For example, Amici States

are uniquely situated to detail the potential consequences to the public interest of DHS’s termination
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of the parole processes, which include, inter alia, forestalling workers from filling vital roles in

industries with labor shortages, preventing the reunification of families in Amici States’ communities,

and endangering parole recipients by forcing their return to dangerous country conditions. Indeed,

federal appellate courts recognize the value of States’ participation as amici curiae in general,

permitting States to file amicus briefs as of right. See Sup. Ct. R. 37.4 (2017) (“No motion for

leave to file an amicus curiae brief is necessary if the brief is presented . . . on behalf of a State . . .

when submitted by its Attorney General . . . .”); Fed. R. App. P. 29(a)(2) (“[A] state may file an

amicus brief without the consent of the parties or leave of court.”).

                                            CONCLUSION

         This Court should grant Amici States’ motion for leave to file a brief as amici curiae.

Dated:      New York, New York
            March 21, 2025
                                                          Respectfully submitted,

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             CERTIFICATION OF COMPLIANCE WITH LOCAL RULE 7.1

       I, Anagha Sundararajan, Assistant Solicitor General, hereby certify that I have conferred
with counsel of record for the parties in this case via email in a good faith attempt to resolve and
narrow the issues posed by the motion. I further certify that the motion is unopposed.


                                                      /s/ Anagha Sundararajan .
                                                      ANAGHA SUNDARARAJAN


                                 CERTIFICATE OF SERVICE

        I, Anagha Sundararajan, Assistant Solicitor General, hereby certify that I have this day,
March 21, 2025, served the foregoing document and its attachments upon all parties of record, by
electronic filing to all ECF-registered parties.

                                                      /s/ Anagha Sundararajan .
                                                      ANAGHA SUNDARARAJAN




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